             Case: 1:25-cr-00105 Document #: 11 Filed: 02/27/25 Page 1 of 1 PageID #:26


                                                                          FILED
1:25-cr-00105
Judge Robert W. Gettleman
Magistrate Judge Gabriel A. Fuentes                                                                BI
Random/Cat. 2                  UNITED STATES DISTRICT COURT
                                                                             2/27/2025
                                                                                               N
                                                                                    S G. BRUTO     T
                               NORTHERN DISTRICT OF ILLINOIS LERTKH,OUM.SA. DISTRICT COUR
                                                             C
                                    EASTERN DIVISION

         UNITED STATES OF AMERICA                    Case No. 25 CR 105

                      v.                             Violation: Title 18, United States Code,
                                                     Section 933(a)(3)
         OSCAR GIL-IZQUIERDO



              The SPECIAL JUNE 2024 GRAND JURY charges:

              On or about February 20, 2025, at Chicago, in the Northern District of Illinois,

        Eastern Division, and elsewhere,

                                     OSCAR GIL-IZQUIERDO,

        defendant herein, did knowingly attempt to transfer and dispose of a firearm, namely,

        a Radical Firearms, Model RF-15, Multi-Caliber, AR-pistol, bearing serial number

        23-010265, to another person in and otherwise affecting interstate and foreign

        commerce, knowing and having reasonable cause to believe that the use, carrying,

        and possession of the firearm by the recipient would constitute a felony, as defined in

        Title 18, United States Code, Section 932(a);

              In violation of Title 18, United States Code, Section 933(a)(3).

                                                        A TRUE BILL:



                                                        FOREPERSON


        ________________________________
        Signed by Sarah Streicker on behalf of the
        ACTING UNITED STATES ATTORNEY
